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                                          U.S. Department of Justice
 [Type text]
                                                     United States Attorney
                                                     Southern District of New York



MEMO ENDORSED
                                                     The Silvio J. Mollo Building
                                                     One Saint Andrew’s Plaza       USDC SDNY
                                                     New York, New York 10007       DOCUMENT
                                                                                    ELECTRONICALLY FILED
                                                     October 8, 2020                DOC #:
                                                                                    DATE FILED: 10/8/2020
 BY ECF
 Honorable Valerie E. Caproni
 United States District Judge
 Southern District of New York
 Thurgood Marshall U.S. Courthouse
 40 Foley Square
 New York, NY 10007

        Re:     United States v. Julio Cesar Prado, 20 Cr. 506 (VEC)

 Dear Judge Caproni:

         The Court has informed the parties that it will schedule an arraignment in the above-
 captioned matter during the week of October 19, 2020. The Government respectfully requests that
 time be excluded under the Speedy Trial Act between today and the arraignment so that the
 defendant has an opportunity to review discovery that has been provided by the Government. See
 18 U.S.C. § 3161(h)(7)(A). The Government consulted with defense counsel, who does not object
 to the exclusion of time.

                                              Respectfully submitted,

                                              AUDREY STRAUSS
                                              Acting United States Attorney for the
                                              Southern District of New York


                                          by: /s/ Rebecca T. Dell
                                             Rebecca T. Dell
                                             Assistant United States Attorney
                                             (212) 637-2198

 cc: Jon Silveri, Esq.   Defendant's arraignment scheduled for October 9, 2020, is adjourned to October
                         23, 2020, at 9:00 a.m. The period between October 8, 2020 and October 23, 2020,
                         is excluded under the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A). The Court
                         finds that the ends of justice served by accommodating logistical difficulties as a
                         result of Defendant's ongoing quarantine due to the COVID-19 pandemic
                         outweigh the interests of the public and the Defendant in a speedy trial.
                         SO ORDERED.


                                                    10/8/2020
                         HON. VALERIE CAPRONI
                         UNITED STATES DISTRICT JUDGE
